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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8    FREDRICK LEE CHRISTOPHE,

 9                                   Plaintiff,             Case No. C19-519-BJR-MLP

10            v.                                            ORDER DENYING PLAINTIFF’S
                                                            REQUESTS FOR EXTENSION OF
11    T. NUNN, City of Auburn Police Officer,               TIME AND TO RECALL PRIOR
                                                            REPORT AND RECOMMENDATION
12                                   Defendant.

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14          This is a civil rights action proceeding under 42 U.S.C. § 1983. This matter comes before

15   the Court at the present time on Plaintiff’s request for an extension of time (dkt. # 50), and his

16   request to recall the Report and Recommendation issued by the undersigned on July 8, 2019 (dkt.

17   # 52). Plaintiff indicates in his request for an extension of time that he requires additional time to

18   collect evidence to support his claims because he was diagnosed with COVID-19 in August and

19   is still experiencing side effects, and because he has been “ensnarled in the penal system” and

20   therefore unable to obtain necessary records. (Dkt. # 50.) Defendant opposes this request. (Dkt. #

21   51.)

22          As Defendant correctly notes in his response to Plaintiff’s request for additional time,

23   Plaintiff’s COVID-19 diagnosis came three months after the discovery deadline had passed and
     ORDER DENYING PLAINTIFF’S REQUEST
     FOR EXTENSION OF TIME - 1
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 1   well after Defendant’s summary judgment motion was noted for consideration. In addition,

 2   Plaintiff has previously requested, and been granted, additional time to obtain documents

 3   necessary to prove his claim (see dkt. ## 30, 32, 33), and he has apparently been unable to do so.

 4   The opportunity for Plaintiff to collect and present evidence in this case has long passed. The

 5   Court, in conjunction with this Order, has issued a Report and Recommendation recommending

 6   that Defendant’s pending summary judgment motion be granted. An additional extension at this

 7   juncture is not warranted.

 8          In his request to recall this Court’s prior Report and Recommendation, Plaintiff indicates

 9   a desire to file a second amended complaint. (Dkt. # 52.) The Report and Recommendation at

10   issue recommended dismissal of a number of Defendants against whom Plaintiff had failed to

11   adequately state any viable claim for relief, leaving Auburn Police Officer Timothy Nunn as the

12   lone Defendant in this action. (Dkt. # 9) That Report and Recommendation was adopted by the

13   Honorable Barbara J. Rothstein, United States District Judge, on September 27, 2019. (Dkt. #

14   14.) The Order issued by Judge Rothstein specifically rejected a request by Plaintiff for an

15   extension of time to file a second amended complaint which Plaintiff had filed in lieu of

16   objections to the Report and Recommendation. (See id.) Not only does this Court lack the

17   authority to recall a Report and Recommendation that has already been adopted by a District

18   Judge, Judge Rothstein rejected Plaintiff’s efforts to amend over a year ago. The instant request

19   is redundant and does not warrant further consideration.

20          Based on the foregoing, this Court hereby ORDERS as follows:

21          (1)     Plaintiff’s request for an extension of time (dkt. # 50), and his request to recall the

22   Report and Recommendation (dkt. # 52) are DENIED.

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     ORDER DENYING PLAINTIFF’S REQUEST
     FOR EXTENSION OF TIME - 2
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 1          (2)    The Clerk shall provide copies of this Order to Plaintiff, to counsel for Defendant,

 2   and to the Honorable Barbara J. Rothstein.

 3          DATED this 9th day of November, 2020.

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 6                                                       MICHELLE L. PETERSON
                                                         United States Magistrate Judge
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     ORDER DENYING PLAINTIFF’S REQUEST
     FOR EXTENSION OF TIME - 3
